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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


MAMADOU ALPHA BAH,
     Plaintiff,

             V ,                                C.A. No. 17-12542-MLW


ENTERPRISE RENT-A-CAR COMPANY
OF BOSTON, LLC, and
ENTERPRISE HOLDINGS, INC.,
     Defendants.


                              MEMORANDUM   & ORDER


WOLF, D.J.                                              January 17, 2024

     SUMMARY


     Plaintiff Mamadou Alpha Bah was an assistant branch manager

for Enterprise Rent-A-Car Company of Boston, LLC ("ERAC Boston").

He has brought individual and collective claims against defendant

ERAC Boston and its parent company, defendant Enterprise Holdings,

Inc. ("EHI"), under the Fair Labor Standards Act of 1938 ("FLSA"),

29 U.S.C. §201, et seq, and the Massachusetts Overtime Law, M.G.L.

c. 151, §1A. Bah alleges that defendants violated the FLSA and the

Massachusetts Overtime Law by failing to pay overtime to assistant

branch managers before November 27, 2016.

     Bah sought to establish two classes: a class of Massachusetts

assistant branch managers seeking relief from defendants under the

Massachusetts      Overtime   Law   (the   "Massachusetts   Class"),   and   a

class of national assistant branch managers seeking relief from
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defendants         under   the   FLSA    (the   "National      Class").^    See    Second

Amended Complaint ("SAC"), at 11-12 (Dkt. No. 92).

       The court dismissed plaintiff's original Complaint without

prejudice. Plaintiff withdrew the First Amended Complaint ("FAC")

after the court noted that it included allegations that might be

sanctionable under Federal Rule of Civil Procedure 11 ("Rule 11").

On    March     16,   2020—more     than     two     years    after    initiating   this

action—plaintiff filed the SAC. On November 13, 2020, the court

denied defendants' motion to dismiss the SAC. See Order (Dkt. No.

103). The parties subsequently litigated various issues related to

class certification under the FLSA.                      On June 28, 2022, the court

conditionally certified the FLSA National Class and authorized

notice to be given to putative opt-in class members. See Mem. &

Order (Dkt. No. 161).

       However, in an FLSA collective action, the limitations period

continues to run against each individual plaintiff until that

plaintiff files a written opt-in consent. 29 U.S.C. §256(b); 29

C.F.R.       §790.21(b)(2)(II).         In   this    case,    the     longest   possible

statute of limitations under the FLSA expired on January 1, 2020.

See Oct. 24, 2023 Mem. & Order, at 2 (Dkt. No. 211). Therefore,

the court instructed that each person seeking to opt-in would have



1-   The    FLSA   characterizes        classes     as    "collectives."    See,    e.g..
Waters v. Day & Zimmermann NPS, Inc., 23 F.4th 84, 86 (1st Cir.
2022), cert, denied, 142 S. Ct. 2777 (2022). However, the putative
FLSA collective is referred to as a "class" in this Memorandum.
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to satisfy the requirements to justify equitable tolling as they

had been consistently stated by the First Circuit. See June 28,

2022 Mem. & Order, at 5-6 (Dkt. No. 161) (citing Neves v. Holder,

613 F.3d 30 (1st Cir. 2010)).

     As explained in the October 24, 2023 Memorandum and Order now

at issue, more than 1,000 putative opt-in plaintiffs, evidently

using a template provided by plaintiff's counsel, filed brief,

boilerplate affidavits that failed to justify equitable tolling

under the standards articulated by the Supreme Court and the First

Circuit. See Oct. 24, 2023 Mem. & Order, at 7-10. Nevertheless,

plaintiff argued that the mere passage of time between the filing

of the case and the issuance of notice categorically justified

equitable tolling for all putative FLSA opt-in plaintiffs. See id.

at 10.


     For the reasons explained in the October 24, 2023 Memorandum

and Order, which are summarized below, the court did not find

plaintiff's contention to be meritorious. Therefore, it denied

each of the putative plaintiffs' requests to opt-in and decertified

the conditionally certified National Class. See id. at 22.

     Plaintiff has moved to certify this decision for immediate

appeal to the First Circuit pursuant to Federal Rule of Civil

Procedure 54(b) (the "Motion"; Dkt. No. 213). Defendants oppose

this request. See Defendants' Opposition (Dkt. No. 217). For the

reasons explained in this Memorandum, the court finds that the
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decision at issue is final and that there is no just reason for

delay.

      The Motion is being allowed primarily because: the putative

opt-in   plaintiffs'   claims     have      been   finally   adjudicated;   the

disputed    ruling   involves     a   legal    and    factual   issue—whether

equitable tolling is categorically justified—that is analytically

distinct from the claims that are still pending in the district

court; considerations of equity and efficiency weigh in favor of

piecemeal review; and defendants will not be prejudiced by such

review. Therefore, the court has concluded that this is one of the

rare cases in which an entry of final judgment pursuant to Rule

54(b) is justified.

II.   PROCEDURAL HISTORY


      The court dismissed plaintiff's original Complaint without

prejudice    because   it   did       not   contain    distinct   allegations

concerning ERAC Boston and EHI, instead referring to the companies

jointly as "Enterprise," and because it did not address the First

Circuit's requirements for alleging that Bah had an employment

relationship with EHI. See Sept. 17, 2018 Tr., at 45-51 (Dkt. No.

57) (discussing the requirements stated by the First Circuit in

Baystate Alternate Staffing, Inc. v. Herman, 163 F.3d 668, 675

(1st Cir. 1998)); Sept. 18, 2018 Order (Dkt. No. 56). In granting

the motion to dismiss, the court quoted from Cavallaro v. UMass

Memorial Healthcare, Inc., in which the First Circuit affirmed the
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dismissal of a similar complaint and wrote, "plaintiffs' counsel

appear to   have     been omitting   pertinent    information    from    their

complaints, possibly to . . . broaden the potential class." 678

F.3d 1, 9 (1st Cir. 2012); Sept. 17, 2018 Tr., at 37. The First

Circuit added that "[a] number of courts have made clear that they

will not put up with game-playing omissions of plainly relevant

detail,   and   we    are   increasingly    sympathetic   to    this    view."

Cavallaro, 678 F.3d, at 10 (footnote omitted). This court did not

characterize plaintiff's conduct as "game-playing." Sept. 17, 2018

Tr., at 47. However, the court reminded plaintiff's counsel of

their obligation to assure that the claims and factual allegations

of any amended complaint met the standards of Rule 11. Id. at 55.

     When the court dismissed the Complaint, it also denied as

moot plaintiff's motion to provide notice of the case to the

putative National Class because there was no case of which to give

notice. Id. at 54; Sept. 18, 2018 Order, S12 (Dkt. No. 56).

     Plaintiff       subsequently   filed   the   FAC   with   two     sets   of

substantive changes in response to the court's ruling. See FAC

(Diet. No. 63). First, plaintiff separated the allegations to refer

specifically to ERAC Boston and EHI, rather than referring to

"Enterprise" as a single integrated unity. See, e.g., FAC 510.

Second, plaintiff alleged that EHI made the decision to reclassify

assistant branch managers as "non-exempt" for the purposes of their

entitlement to pay for overtime. See id. 124-25. Plaintiff also
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alleged that Dwayne Walker--who informed assistant branch managers

that they had been reclassified pursuant to a "Reclassification

Memo"--was an employee of EHI, citing Walker's Linkedin profile.

See id.


      Defendants moved to dismiss the FAC (Dkt. No. 65). They also

submitted a letter that they sent to plaintiff's counsel before

the FAC was filed, in which defendants stated that plaintiff knew

or should   have   known that Walker        was employed by ERAC Boston,

rather than EHI, and threatened to seek sanctions under Rule 11 if

the erroneous statements were not corrected. See Status Report, at

3 (Dkt. No. 60). Nevertheless, plaintiff included the disputed

allegations concerning Walker's employer in the FAC.

      At the hearing on defendants' motion to dismiss the FAC, the

court expressed an inclination to dismiss at least part of the FAC

and stated that defendants had raised a serious issue concerning

whether a motion for sanctions under Rule 11 would be meritorious.

See Feb. 6, 2020 Tr., at 60-61 (Dkt. No. 82). However, the court

provided plaintiff the opportunity to decide whether to dismiss

his   claims    against     EHI   and/or   withdraw    any   or   all   of   the

allegations in the FAC that were potentially sanctionable under

Rule 11.               at 53-54; Feb. 6, 2020 Order, ^3(a) (Dkt. No.

80); Nov. 13 2020 Mem, & Order, at 7-8 (Dkt. No. 103). Plaintiff

elected    to   move   to   amend   his    complaint   a   second   time.    See

Plaintiff's Status Report (Dkt. No. 85).
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        The court/ over defendants' objection, allowed plaintiff to

file the SAC, which did not include the potentially sanctionable

allegations concerning Walker and added certain allegations. See

Mar. 12, 2020 Order (Dkt. No. 91). Defendants moved to dismiss the

SAC (Dkt.    No. 93). On     November 13, 2020, the court denied the

motion to dismiss and expressed its intent to "address conditional

certification [of a        National Class] in the next phase of this

litigation." See Mem & Order, at 36 (Dkt. No. 103). The parties

filed    several   motions   related     to   court's     denial   of    defendants'


motion to dismiss and plaintiff's motion to certify a National

Class. See, e.g.. Defendants' Motion for Reconsideration (Dkt. No.

106); Plaintiff's Supplemental Memorandum in Support of Motion to

Certify Class (Dkt. No. 128); Defendants' Motion to Sever Claims

Against    EHI     (Dkt.   No.   154).     On     June    28,    2022,    the   court

conditionally certified a           FLSA      National Class and          authorized

plaintiff     to    give   notice   of     this    case     to    putative      opt-in

plaintiffs. See June 28, 2022 Mem. & Order, at 5-6 (Dkt. No. 161).

        However, because even the most generous three-year statute of

limitations had expired on January 1, 2020, id. at 2, the court

held that the putative opt-in plaintiffs would have to persuade

the court to apply equitable tolling for their claims to survive,

see id. at 5. Equitable tolling is a                     doctrine that "extends

statutory deadlines in extraordinary circumstances for parties who

were prevented from complying with them through no fault or lack
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of diligence of their own." Neves v. Holder, 613 F.3d 30, 36 (1st

Cir. 2010). It is a rare remedy that courts are to apply sparingly.

Abraham v. Woods Hole Oceanoqraphic Inst., 553 F.3d 114, 119 (1st

Cir. 2009). In general, equitable tolling requires a court to

perform an individualized "'fact intensive' inquiry." Holland v.

Fla., 130 S. Ct. 2549, 2565 (2010). To                 receive   the    benefit of

equitable tolling, a plaintiff must show: "(1) that he has been

pursuing his rights diligently and (2) that some extraordinary

circumstance    stood    in     his   way."     Neves,     613     F.3d,   at     36.

Accordingly, on June 28, 2022, this court ordered that:

      After putative opt-in plaintiffs are identified, the court
      will decide individually whether the doctrine of equitable
      tolling operates to permit each to maintain his or her claim
      despite   the     usual    two-year       or    three-year       statute    of
      limitations. . . . Any person wishing to opt-in shall . . .
      submit an opt-in consent form, and provide affidavits and
      evidence supporting his or her contention that: (a) there
      were extraordinary circumstances that prevented him or her
      from pursuing his or her claim before either or both statutory
      deadlines; and (b) he or she              was   reasonably       diligent   in
      pursuing his or her rights.

June 28, 2022 Mem. & Order (Dkt. No. 161).

      One   thousand    four    hundred       and    seventy-five      individuals

attempted to opt-into the FLSA National Class. Oct. 24, 2023 Mem.

&   Order, at   6.    Some did    not,       as ordered,    file    the    required

declarations. Id. at 7. One thousand one hundred and eighty-six

individuals filed brief, identical declarations, asserting only

that they did not know of this case before receiving the notice.

See id. at 7. Six       individuals filed declarations that were not

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materially different. See id. ai 8. For l:he reasons explained in

the    October     24,     2023     Memorandum,       none   of     the   putative    opt-in

plaintiffs        proved    that       equitable      tolling       was   justified    under

existing jurisprudence. See id. at 7-10.

       In addition, in            the October 24, 2023 Memorandum the court

found that, at least in the circumstances of this case, plaintiff's

contention        that   the      court      should    apply      equitable   tolling      on

categorical grounds, and find that the time it took putative

plaintiffs to receive notice justified equitable tolling, was not

meritorious. See id. at 10-22. Among other things, the court noted

that: the single Circuit to have decided the issue refused to apply

equitable     tolling        despite         protracted      litigation,      id.     at    11

(discussing Sanchez v. Singular Wireless L.L.C., 700 F. App'x 317,

321 (5th Cir. 2017)); while some, but not all, district judges in

other districts had applied equitable tolli.ng based on the time it

took    for   a    court    to      issue     notice   and     plaintiff's     reasonable

diligence,        judges       in      the     District        of     Massachusetts        had

consistently        refused       to    do    so^,    id.    at     11-14;   and    adopting

plaintiff's proposed categorical approach                           would in many cases

undermine     the     statute        of     limitations      that     Congress      and    the



^ The court recognized that equitable tolling was applied on
somewhat categorical grounds in Pineda v. Skinner Services, Inc.,
2020 WL 5775160 (D. Mass. Sept. 28, 2020) (Saylor, J.), but this
court found that case inapposite because in Pineda the lack of
clarity in a prior oral ruling had caused plaintiffs to reasonably
rely on tolling. See Oct. 24, 2023 Mem. & Order, at 13-14.
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 President legislated, thus changing the principle of equitable

 tolling from the exception to the rule, id. at 13-14. Therefore,

 the court rejected plaintiff's request for equitable tolling and

 decertified the conditionally certified National Class. Id. at 22.

       On October 24, 2023, after denying        plaintiff's motion       for

 equitable tolling, the court entered a scheduling order concerning

 plaintiff's state law claim (Dkt. No. 212). Fact discovery is to

 be completed by April 30, 2024. Id. at 3. The parties must report

 on thfe prospects of settlement and whether there is a proper basis

 for a summary judgment motion by July 31, 2024. Id. at 3. The court

 also ordered plaintiff to file any motion for the entry of final

 judgment under Rule 54(b), or for leave to file an interlocutory

 appeal, by November 21, 2023. See Oct. 24, 2023 Mem. & Order, at

 22.


       Plaintiff timely filed his Motion for entry of final judgment

 regarding the opt-in plaintiffs' claims (Dkt. No. 213). Defendants

 filed an Opposition (Dkt. No. 217).

III.   RULE 54(b) ANALYSIS

       An entry of judgment making a ruling immediately appealable

 may be made pursuant to Rule 54(b) only if the ruling involves

 "one or more, but fewer than all, claims or parties [and] the court

 expressly determines that there is no just reason for delay." Fed.

 R. Civ. P. 54(b). This court recognizes that authorizing piecemeal

 litigation pursuant to Rule 54(b) is rarely appropriate. See, e.g.,

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Spiegel v. Trustees of Tufts Coll., 843 F,2d 38, 44 (1st Cir.

1988). However, after considering the relevant factors, the court

is persuaded that this is one of those rare cases.

       The Rule 54(b) "[fjinality requirement is satisfied as long

as the 'trial court action underlying the judgment disposed of all

the claims, rights, and liabilities of at least one party as to at

least one claim.'" Amyndas Pharms., S.A. v. Zealand Pharma A/S, 48

F.4th 18, 28 (1st Cir. 2022) (quoting Credit Francais Int'l, S.A.

V. Bio-Vita, Ltd., 78 F.3d 698, 706 (1st Cir. 1996)). The decision

that the putative opt-in plaintiffs' FLSA claims are time-barred

eliminates all of their claims. Therefore, the parties properly

agree that the decision is final.

       Accordingly, the only material issue is whether there is any

"just reason for delay." One important interest served by Rule

54(b) is avoiding "piecemeal appeals in cases which should be

reviewed only as single units." Id. (quoting Curtiss-Wright Corp.

V. Gen. Elec. Co., 100 S. Ct. 1460, 1466 (1980)). In Britton v.

Maloney, 196 F. 3d 24 (1st Cir. 1999), the First Circuit wrote:

  The propriety of an immediate appeal under Rule 54(b) turns on
  a number of factors, including (1) whether the disputed ruling
  is    final;   (2)   whether   the   disputed   ruling   raises   legal   or
  factual issues that overlap with any claims that remain pending
  in the district court; and (3) how the equities and efficiencies
  of piecemeal review would compare to those in a single
  proceeding. See [Credit Francais, 78 F.3d, at 706]. Because
  Britton's case against Maloney is now complete, because the
  issues that it raises are analytically distinct from those in
  Britton's case against the city, and because there is little


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  risk of prejudice from immediate appellate review, we accept
  the district court's certification under Rule 54(b).

Id. at 27 n.2.



      This is a comparable case. Here, the legal and factual issues

in the appeal do not overlap with any issues under Massachusetts

law still pending concerning ERAC Boston in the district court.

The   heart   of the    issues   still   before this court is        whether the


assistant     branch    managers   were       misclassified   and    entitled   to

overtime. The sole issue on appeal will be whether this court

properly found that the putative FLSA opt-in plaintiffs' claims

against    EHI    are    time-barred.     These     issues    are   analytically

distinct. Cf. Federal Home Loan Bank of Boston v. Moody's Corp.,

821 F.3d 102, 107 n.3 (1st Cir. 2016), abrogated on other grounds

by Lightfoot v. Cendant Mortq. Corp., 580 U.S. 82 (2017) (affirming

the entry of final judgment under Rule 54(b) because it rested "on

purely    legal   grounds    distinct     from    the   factual     questions   of

liability being litigated by the remaining parties"). "Such a lack

of overlap" between the issue to be decided on appeal and the

issues still pending in this court "strongly supports the finding

of no just reason for delay (and, thus, the entry of a partial

final judgment under Rule 54(b))." Quinn v. City of Bos., 325 F.3d

18, 27 (1st Cir. 2003).

      In addition, 1,424 putative plaintiffs whose claims have been

found to be time-barred will not be simultaneously litigating in


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the district court and the court of appeals.^ Oct 24, 2023 Mem. &

Order, at 6; cf. Spiegel, 843 F.2d at 44. Nothing to be decided in

the district court will obviate the need for the First Circuit to


decide at some time whether this court was correct in concluding

that the putative plaintiffs' claims are time-barred.

     If this court was incorrect in denying plaintiff's motion for

equitable tolling, it would be in the interest of justice to allow

the putative FLSA National Class to be re-certified and to have

its claims litigated now, before the passage of time may make it

more difficult to obtain          evidence    and    have   the   merits of those

claims properly decided. Defendants will not be prejudiced by a

remand. If this court's decision is             reversed and        remanded, the

schedule   established      for    litigating the      putative     Massachusetts

Class's    claims    will   not    be   disrupted     because     the   court   will

bifurcate the schedules for discovery and trial concerning the two

classes. Any earlier decision concerning the Massachusetts Class

may resolve at least some legal issues concerning the National

Class.




^ One thousand four hundred and seventy-five individuals attempted
to opt-in to the FLSA National Class. Oct. 24, 2023 Mem. & Order,
at 6. According to EHI, 51 of the members of the putative
Massachusetts       Class   also    filed     FLSA    opt-in      consent   forms.
Defendants' Opposition, at 4. Setting aside these individuals,
there are 1,424 putative opt-in plaintiffs who are no longer a
party to the district court proceedings.
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     In essence, the case      is distinguishable     from   Spiegel    and

comparable to Amyndas and Britton. In Spiegel, the district court

entered final judgment under Rule 54(b) after dismissing three of

four claims that a     professor   brought against Tufts      University

following its denial of her tenure application. See Spiegel, 843

F.2d at 40. The First Circuit reversed the district court for three

reasons: (1) the    plaintiff, who moved for the entry of final

judgment, remained a party to the district court action, see id.

at 44; (2) the claims that the plaintiff sought to appeal would

have been largely mooted if she         prevailed on    the claim that

remained pending in the district court, see id. at 45; and (3) the

"factual underpinnings of the adjudicated and unadjudicated counts

[were] also inextricably intertwined," id. at 45.

     The factors that precluded the entry of final judgment in

Spiegel do not exist in this case. First, the opt-in plaintiffs

seeking to appeal the court's equitable tolling decision are no

longer a party to the district court case. Cf. Britton, 196 F.3d,

at 27 n.2 (affirming district court's entry of final judgment by

defendant's motion in part because defendant was no longer a party

to district court proceedings). Second, the opt-in plaintiffs'

request for appellate review of the district court's equitable

tolling decision will not be mooted if the Massachusetts Class

prevails.      Amyndas, 48 F.4th, at 29 (affirming entry of final

judgment following dismissal of plaintiff's claims against one of

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two defendants). Third, as in Amyndas, "the issue[] on appeal"—

whether the court properly refused to apply equitable tolling to

the opt-in plaintiffs' claims--"[is] ripe for review and distinct

from the merits of the claims remaining against [defendants]." Id.

at 29.


      Plaintiff   has   also   established   "a   compelling   reason    for

accelerated appellate review." Id. at 29. In jUnyndas, the First

Circuit found that appellants had a compelling need to know "sooner

rather than later" whether a forum selection clause applied to the

plaintiff's claims against one defendant. Id. at 29. Here, the

opt-in plaintiffs have a compelling need to know "sooner rather

than later" whether their FLSA claims against defendants are time-

barred. See supra, at 13. The court perceives "little risk of

prejudice from immediate appellate review," Britton, 196 F.3d, at

27 n.2.


      In view of the foregoing, the Motion is being allowed.

IV.   ORDER


      Accordingly, it is hereby ORDERED that:

      1. Plaintiff's Motion for the Entry of Separate and Final

Judgment under Rule 54(b) is ALLOWED.

      2. The denial of plaintiff's request for equitable tolling

and decertification of the conditionally certified National Class

(Dkt. No. 211) shall be ENTERED as a final judgment pursuant to

Rule 54(b).


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     3. Plaintiff's request, in the alternative, for the entry of

an interlocutory appeal pursuant to 28 U.S.C. §1292(b) is DENIED

as MOOT.




                                         UNITED STATES DISTRICT JU




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